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 1 TRINETTE G. KENT (State Bar No. 222020)
 2 KENT LAW OFFICES
   10645 North Tatum Blvd., Suite 200-192
 3 Phoenix, AZ 85028
 4 Telephone: (480) 247-9644
   Facsimile: (480) 717-4781
 5 E-mail: tkent@kentlawpc.com
 6
   Attorneys for Plaintiff,
 7
   Kiet Huynh
 8
                            UNITED STATES DISTRICT COURT
 9
                         SOUTHERN DISTRICT OF CALIFORNIA
10
11 Kiet Huynh,                                     Case No.:   '16CV2266 W   BGS
12
                   Plaintiff,
13
          vs.                                      COMPLAINT
14
15 Trans Union LLC,
16 a Delaware limited liability company, and       JURY TRIAL DEMAND
   Bank of America, N.A.,
17 a national association,
18
                   Defendants.
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 1        NOW COMES THE PLAINTIFF, KIET HUYNH, BY AND THROUGH
 2
     COUNSEL, TRINETTE G. KENT, and for his Complaint against the Defendants,
 3
 4 pleads as follows:
 5                                    JURISDICTION
 6
       1. Jurisdiction of this court arises under 15 U.S.C. §1681p.
 7
 8     2. This is an action brought by a consumer for violation of the Fair Credit
 9
          Reporting Act (15 U.S.C. §1681, et seq. [hereinafter “FCRA”]).
10
11
                                           VENUE
12
       3. The transactions and occurrences which give rise to this action occurred in the
13
14        City of San Diego, San Diego County, California.
15
       4. Venue is proper in the Southern District of California.
16
17                                        PARTIES

18
       5. The Defendants to this lawsuit are:
19
20           a. Trans Union, LLC (“Trans Union”), which is a Delaware Limited
21
                Liability Company which maintains its registered agent in Chicago
22
23              Illinois; and

24           b. Bank of America, NA. (“BOA”), which is a national association that
25
                maintains its offices in Utica, New York.
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 1                          GENERAL ALLEGATIONS
 2
      6. On or about September 11, 2012, Mr. Huynh received a letter from Bank of
 3
 4       America, stating that he would receive a full forgiveness of the remaining
 5       principal balance of $162,496.29 regarding a Bank of America account with
 6
         account number 68249007195899 (“Errant Trade Line”). The letter stated that
 7
 8       Mr. Huynh’s acceptance of the offer was automatic unless it heard from him. It
 9
         also stated that once it forgave the remaining balance on the account, it would
10
11       report to the credit bureaus that the account was paid and closed.

12    7. Mr. Huynh did as the above letter indicated and did not do anything, thus
13
         accepting Bank of America’s offer.
14
15    8. On or about October 29, 2015, Mr. Huynh obtained his Trans Union credit file
16       and noticed that Bank of America reported the Errant Trade Line as a paid
17
         charge off.
18
19    9. On or about November 12, 2015, Mr. Huynh submitted a letter to Trans Union,
20
         disputing the charged off language on the Errant Trade Line.
21
      10.Upon information and belief, Trans Union forwarded Mr. Huynh’s consumer
22
23       dispute to BOA.
24
      11.On or about November 18, 2015, Mr. Huynh received his Trans Union credit
25
26       file, which showed that Bank of America retained the status of “Account paid in

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 1       full; was a charge off.” It also showed that Bank of America was reporting
 2
         multiple charge offs.
 3
 4    12.On or about December 16, 2015, Mr. Huynh filed a lawsuit under the Fair
 5       Credit Reporting Act against Experian, Equifax, and BOA for erroneous
 6
         reporting of the Errant Trade Line.
 7
 8    13.On or about December 21, 2015, Mr. Huynh submitted another letter to Trans
 9
         Union, disputing the Errant Trade Line. In this letter, he disputed the status of
10
11       “Was a Charge off.” He also disputed the multiple charge offs that Bank of

12       America was reporting under the payment history section of his Trans Union
13
         credit file. Mr. Huynh indicated that the multiple charge offs were false, and he
14
15       again stated that the loan was forgiven. He attached the letter from Bank of
16       America dated September 11, 2012, again confirming the same. Mr. Huynh
17
         requested that the status of “Was a Charge Off” be removed from his Trans
18
19       Union credit file, and he requested that all the charge off language and multiple
20
         charge offs be removed from his Trans Union credit file.
21
      14.On or about March 29, 2016, Mr. Huynh obtained his Trans Union credit file.
22
23       This showed that Bank of America retained the multiple charge offs on the
24
         Errant Trade Line. This also showed a remark which stated, “Settled-Less Than
25
26       Full Balance.”

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 1      15.In May 2016, Mr. Huynh’s case against Bank of America, Experian, and
 2
           Equifax was settled.
 3
 4      16. On or about May 26, 2016, Mr. Huynh submitted yet another letter to Trans
 5         Union, disputing the Errant Trade Line. In this dispute letter, he disputed the
 6
           status of “Settled-Less Than Full Balance.” In this letter, Mr. Huynh stated that
 7
 8         he previously filed a lawsuit against Bank of America and he settled it. Per the
 9
           terms of the settlement, it was required to report the trade line as “Paid in Full.”
10
11         Mr. Huynh indicated that the Settlement Agreement was confidential and that

12         he could not attach it to the dispute letter. He also disputed the multiple charge
13
           offs. He asked that Bank of America properly report the Errant Trade as “Paid
14
15         in Full” and he requested that it remove the multiple charge offs.
16      17.On or about June 27, 2016, Mr. Huynh received Trans Union’s investigation
17
           results, which showed that Bank of America retained the status of “Account
18
19         paid in Full; was a Charge-Off.” This further showed that Bank of America was
20
           reporting charge offs each month between May 2012 through September 2012
21
           on the Errant Trade Line.
22
23
     The Fair Credit Reporting Act and its requirements
24
25      18.There are two types of defendants in this lawsuit. One type of defendant is the
26
           credit reporting agencies ("CRAs") which report information about the Plaintiff.
27
28         The second type of defendant in this case is called a Furnisher in the credit
                                                 5
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 1       reporting industry. A Furnisher is a creditor that furnishes its experience with
 2
         the Plaintiff, to the CRAs.
 3
 4    19.Both the CRAs and Furnishers credit reporting activities are governed by the
 5       FCRA.
 6
      20.This case involves the Defendants reporting charge offs, month after month
 7
 8       ("MCOs") on the Plaintiff's Trans Union credit file. The reporting of MCOs is
 9
         inaccurate, incomplete, unclear, and in violation of the FCRA.
10
11    21.Charge-offs are treated as an expense or loss to the creditor. They are

12       referenced in 15 U.S.C. § 1681c of the FCRA. Under this paragraph, generally
13
         speaking, a charge off may not be reported on a trade line that is older than 7
14
15       years, beginning upon the expiration of the 180-day period measured from the
16       delinquency which immediately preceded the charge off. A charge off is a
17
         singular, onetime event. Indeed, the Federal Trade Commission has opined that
18
19       it was Congress’ intent in enacting sections 15 U.S.C. §1681c to establish a
20
         single date of the delinquency such as to begin the obsolescence period on
21
         charge offs. Indeed, a plain reading of the statute shows as much.
22
23    22.In today's society, the ability to obtain credit largely determines one's lifestyle
24
         and housing options. A charge off is a derogatory piece of information that
25
26       depresses one's credit score and the reporting of which makes it difficult, if not

27       impossible, for the Plaintiff to obtain credit.
28
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 1 Defendant(s) are reporting MCOs
 2
     23.15 U.S.C. 1692g requires CRAs, upon request, to clearly and accurately
 3
 4        disclose all information in a consumer's file.
 5     24.In the case before this court, the Defendants, by reporting MCOs, have failed to
 6
          make the date of the charge off clear to the Plaintiff and others, including credit
 7
 8        grantors. Again, a charge off occurs on a singular date. Without the ability to
 9
          understand this date from the trade line, it is impossible for the Plaintiff to
10
11        determine the date that the negative trade line should be removed from the

12        Plaintiff's credit report.
13
       25.The information that the Defendants are providing in their trade lines are
14
15        neither clear nor accurate for the following reasons:
16           a. Because the Status section of the trade line for the Furnisher reports the
17
                 account status as "charge off" and the payment history grid of these trade
18
19               lines also reports charge offs, month after month, it appears that the
20
                 Furnisher is charging off the account again, month after month. There is
21
22               no legitimate reason for reporting the account as a charge off month after

23               month in the payment history section and in the Status section. It is
24
                 confusing, unclear, and inaccurate to anyone who receives the Plaintiff's
25
26               credit report.
27
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 1          b. The Defendant Furnisher’s trade line offer the Plaintiff no way to verify
 2
               when the trade line will be removed from his/her credit report. Plaintiff
 3
 4             has no way to predict his/her financial future because these MCO trade
 5             line is an impediment to the Plaintiff seeking new credit and do not give
 6
               the Plaintiff enough information to predict when it will fall off.
 7
 8          c. The MCOs are confusing or are potentially unclear to judgment lenders
 9
               such as mortgage lenders and their underwriters. These sorts of lenders
10
11             look beyond the simple credit score to judge whether a consumer meets

12             the guidelines for a mortgage loan. They review each trade line for
13
               content. MCOs are confusing, or potentially confusing, to such mortgage
14
15             lenders. There is no legitimate business reason for the Defendants to
16             report charge offs, month after month, in a payment grid section of a
17
               consumer's credit file when the account has already been tagged in the
18
19             Status section as a charge off.
20
      26.None of the Defendants, it appears, have firm policies or procedures in place to
21
         prevent the reporting of MCOs or to manage their reporting at all.
22
23    27.Since the Defendant CRA lack policies and procedures to refrain from reporting
24
         MCOs, it is preparing credit reports on the Plaintiff without having adequate
25
26       policies and procedures in place to assure maximum possible accuracy as

27       required by the FCRA at 15 U.S.C. 1681e(b). Lacking such policies and
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                                                 8
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 1       procedures, the defendant credit reporting agency is causing great financial and
 2
         credit damage to the consumer and possibly, for a far longer period than it may
 3
 4       legally report. By holding the Plaintiff's credit score under water month after
 5       month for an indeterminate time, the Plaintiff's ability to obtain goods, services
 6
         and credit at reasonable rates, is obliterated. This practice of reporting MCOs is
 7
 8       illegal and violated the FCRA.
 9
      28.Upon information and belief, all of the defendants favor this MCO policy.
10
11       Credit reporting is a debt collection activity. The longer that the Defendants

12       can illegally continue to report MCOs on the Plaintiff's credit report, resultantly
13
         the longer they can artificially depress the Plaintiff's credit score. The
14
15       Defendant's apparent goal is to continue holding the Plaintiff's credit score
16       under water for as long as possible, hoping that at some point the Plaintiff will
17
         come up gasping for air when he/she has an absolute need for an improve score.
18
19       When that day comes, the Defendants will hope to get paid.
20
      29.This pattern and practice by the Defendants of reporting MCOs constitutes a
21
         willful, or at the very least negligent, violation of the Plaintiff's rights under the
22
23       FCRA.
24
      30.The damages caused by the reporting of multiple charge offs include angst and
25
26       emotional distress, financial damage, credit damage, costs, and attorneys' fees.

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 1
 2                                        COUNT I
 3    NEGLIGENT VIOLATION OF THE FAIR CREDIT REPORTING ACT
 4                           BY BOA
 5    31.Plaintiff realleges the above paragraphs as if recited verbatim.
 6
      32.After being informed by Trans Union of Mr. Huynh’s consumer dispute to the
 7
 8       Errant Trade Line, BOA negligently failed to conduct a proper reinvestigation
 9
         of Mr. Huynh’s dispute as required by 15 USC 1681s-2(b).
10
11    33.Indeed, BOA was fully aware or should have been aware that its reporting of

12       MCOs in its trade line on the Plaintiff's consumer credit file with Trans Union
13
         was not only inaccurate, but also illegal. This Defendant was also fully aware
14
15       that it was improperly depressing the Plaintiff's credit score, causing great credit
16       harm and damage to his/her ability to obtain credit.
17
      34.Had BOA conducted a reasonable reinvestigation, it would have known that
18
19       there was no reason for it to report its trade line as a charge off in both the
20
         payment history grid and the status section of the Plaintiff's Trans Union credit
21
         report.
22
23    35.BOA willfully retained the MCOs making its trade line inaccurate, incomplete,
24
         and/or unclear.
25
26
27
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 1    36.By retaining the MCOs and directing Trans Union to do the same, this
 2
         defendant willfully violated its duties under the FCRA, causing economic and
 3
 4       emotional damages to the Plaintiff.
 5    37.BOA negligently failed to review all relevant information available to it and
 6
         provided by Trans Union in conducting its reinvestigation as required by 15
 7
 8       USC 1681s-2(b). Specifically, it failed to direct Trans Union to remove the
 9
         multiple charge offs and the inaccurate status on the Errant Trade Line.
10
11    38.The Errant Trade Line is inaccurate and creates a misleading impression on Mr.

12       Huynh’s consumer credit file with Trans Union to which it is reporting such
13
         trade line.
14
15    39.As a direct and proximate cause of BOA’s negligent failure to perform its duties
16       under the FCRA, Mr. Huynh has suffered damages, mental anguish, suffering,
17
         humiliation, and embarrassment.
18
19    40.BOA is liable to Mr. Huynh by reason of its violations of the FCRA in an
20
         amount to be determined by the trier fact together with reasonable attorneys’
21
         fees pursuant to 15 USC 1681o.
22
23    41.Mr. Huynh has a private right of action to assert claims against BOA arising
24
         under 15 USC 1681s-2(b).
25
26
27
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                                               11
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 1         WHEREFORE, PLAINTIFF PRAYS that this Court grant him a judgment
 2
     against BOA for damages, costs, interest, and attorneys’ fees.
 3
 4                                         COUNT II
 5        WILLFUL VIOLATION OF THE FAIR CREDIT REPORTING ACT
 6                              BY BOA
 7
        42.Plaintiff realleges the above paragraphs as if recited verbatim.
 8
        43.In the alternative to a Willful Violation of the FCRA, Plaintiff claims that BOA
 9
10         negligently violated his/her rights under this statute.
11
        44.After being informed by Trans Union of Plaintiff's objection to the Defendant's
12
13         reporting of MCOs, BOA negligently failed to conduct a proper reinvestigation

14         of Plaintiff's dispute as required by 15 USC 1681s-2(b) and to report the results
15
           of that investigation to the CRAs.
16
17      45.BOA negligently failed to review all relevant information available to it and
18         provided by Trans Union in conducting its reinvestigation as required by 15
19
           USC 1681s-2(b). Alternatively, BOA negligently failed to conduct a
20
21         reasonable reinvestigation and failed to report the results of a reasonable
22
           reinvestigation to Trans Union. Specifically, it failed to direct Trans Union to
23
24         remove the MCOs from its trade line and it failed to update the status of the

25         Errant Trade Line.
26
27
28
                                                12
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 1     46.As a direct and proximate cause of BOA’s negligent failure to perform its duties
 2
          under the FCRA, Plaintiff has suffered credit and financial damages, mental
 3
 4        anguish, suffering, humiliation, and embarrassment.
 5     47.BOA is liable to Plaintiff by reason of its violations of the FCRA in an amount
 6
          to be determined by the trier fact together with reasonable attorneys’ fees
 7
 8        pursuant to 15 USC 1681o.
 9
10
11        WHEREFORE, PLAINTIFF PRAYS that this Court grant him a judgment

12 against BOA for damages, costs, interest, and attorneys’ fees.
13
                                         COUNT III
14
15 WILLFUL VIOLATION OF THE FAIR CREDIT REPORTING ACT
                                   BY TRANS UNION
16
17   48.Plaintiff realleges the above paragraphs as if recited verbatim.
18     49.Defendant Trans Union prepared, compiled, issued, assembled, transferred,
19
          published, and otherwise reproduced consumer reports regarding Plaintiff as
20
21        that term is defined in 15 USC 1681a.
22
       50.Such reports contained information about the Plaintiff that was false,
23
24        misleading, and inaccurate.

25     51.Trans Union negligently failed to maintain and/or follow reasonable procedures
26
          to assure maximum possible accuracy of the information it reported to one or
27
28
                                              13
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 1       more third parties pertaining to the Plaintiff, in violation of 15 USC 1681e(b).
 2
         Glaringly missing from a list of policies and procedures are:
 3
 4          a. one that would cause this Defendant to refrain from reporting MCOs as
 5             this defendant has;
 6
            b. one that would give the Plaintiff an ability to reconcile his records with
 7
 8             the information provided in the trade lines that report MCOs that would
 9
               allow the Plaintiff to predict when an MCO trade line will fall off;
10
11          c. one that would provide for clear and accurate reporting of a charge off;

12             there is no sound business reason for this defendant to report MCOs
13
               month after month while, at the same time, report the account as a charge
14
15             off in the Status section of the Plaintiff's consumer credit file. This
16             reporting is inaccurate and unclear.
17
      52.There is no legitimate reason for this defendant to report charge offs, month
18
19       after month, in the payment grid section of the Plaintiff's consumer credit file
20
         when the very same information is present in the Status section of such trade
21
         line(s) that contain the MCOs.
22
23    53.The reporting of MCOs is unclear and inaccurate to the Plaintiff. Pursuant to
24
         15 U.S.C.1681g, a CRA must clearly and accurately disclose the information in
25
26       a consumer's credit file. The information contained in the Plaintiff's consumer

27       credit file with this Defendant is neither clear nor accurate. For example, the
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                                              14
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 1       trade line reporting MCOs provides inaccurate beginning dates of charge off.
 2
         Plaintiff has calculated the seven year reporting period based on that charge off
 3
 4       date and has been unable to confirm when the trade will become obsolete and
 5       removed from his credit report. Without the ability to reconcile his records to
 6
         the date of the charge off, Plaintiff is deprived of the ability to predict when he
 7
 8       can apply for new credit and new financial start.
 9
10    54.Moreover, this Defendant's policies and procedures fail to address the fact that

11       reporting multiple charge offs in both the payment history section and the
12
         Status section of the Plaintiff's credit report simultaneously is misleading,
13
14       confusing, and lacks any legitimate business purpose for either the Furnisher or
15       this CRA.
16
      55. After receiving Plaintiff's consumer dispute to the Errant Trade Line, Trans
17
18       Union negligently failed to conduct a reasonable investigation as required by 15
19
         U.S.C. 1681i.
20
21    56.As a direct and proximate cause of Trans Union's negligent failure to perform

22       its duties under the FCRA, Plaintiff has suffered actual damages, mental
23
         anguish and suffering, humiliation, and embarrassment.
24
25    57.Trans Union is liable to Plaintiff by reason of its violation of the FCRA in an
26       amount to be determined by the trier fact together with his reasonable attorneys’
27
         fees pursuant to 15 USC 1681n.
28
                                              15
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 1
 2
          WHEREFORE, PLAINTIFF PRAYS that this court grant him a judgment
 3
 4 against Trans Union for actual damages, costs, interest, and attorneys’ fees.
 5                                       COUNT IV
 6
        NEGLIGENT VIOLATION OF THE FAIR CREDIT REPORTING ACT
 7
                          BY TRANS UNION
 8
       58.Plaintiff realleges the above paragraphs as if recited verbatim.
 9
10     59.Defendant Trans Union prepared, compiled, issued, assembled, transferred,
11
          published, and otherwise reproduced consumer reports regarding Plaintiff as
12
13        that term is defined in 15 USC 1681a.

14     60.Such reports contained information about Plaintiff, such as the multiple charge
15
          offs, that was neither clear nor accurate as required by 15 U.S.C. 1681g(a)(1).
16
17        The multiple charge offs are inaccurate because they lack a singular origin date
18        by which to measure the 7 year reporting period. They are also inaccurate
19
          because they convey to a consumer that an account has been charged off month
20
21        after month, when in fact, the account has only one charge off date.
22
       61.The multiple charge offs are also unclear, because this CRA has not provided a
23
24        legend on its credit report to clearly explain that the charge off has a beginning

25        date and what that beginning date is. The credit reports produced by this
26
          defendant further fail to make clear when the multiple charge offs will come off
27
28        the credit report and the credit report lacks enough information to allow the
                                               16
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 1       Plaintiff to verify these dates even if they were presented on the credit report for
 2
         the Plaintiff or anyone else to see.
 3
 4    62. Trans Union has produced credit reports and disclosures that were false,
 5       misleading, and inaccurate. Indeed, the multiple charge offs, by themselves, are
 6
         false, misleading, inaccurate, and unclear.
 7
 8    63.Trans Union has negligently failed to maintain and/or follow reasonable
 9
         procedures to assure maximum possible accuracy of the information that it
10
11       reported to one or more third parties pertaining to Plaintiff, in violation of 15

12       USC 1681e(b). Indeed, Trans Union has no policies that prevent the reporting
13
         of multiple charge offs, nor does it have any policies that govern how long
14
15       multiple charge offs, even if legal and proper, may be reported on the Plaintiff's
16       credit report.
17
      64. After receiving Plaintiff's consumer dispute to the Errant Trade Line, Trans
18
19       Union negligently failed to conduct a reasonable investigation as required by 15
20
         U.S.C. 1681i. Indeed, it merely retained the multiple charge offs, which are
21
         illegal, confusing, inaccurate, and unclear.
22
23    65.As a direct and proximate cause of Trans Union's negligent failure to perform
24
         its duties under the FCRA, Plaintiff has suffered actual credit and financial
25
26       damages, mental anguish and suffering, humiliation, and embarrassment.

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 1      66.Due to Trans Union's actions and inactions in connection with its failure to
 2
           conduct a reasonable reinvestigation, Plaintiff has suffered damages, including
 3
 4         but not limited to an artificially and illegally depressed credit score.
 5      67.Trans Union is liable to Plaintiff by reason of its violations of the FCRA in an
 6
           amount to be determined by the trier of fact together with his reasonable
 7
 8         attorneys’ fees pursuant to 15 USC 1681o.
 9
10
11         WHEREFORE, PLAINTIFF PRAYS that this court grant him a judgment

12 against Defendant Trans Union for the greater of statutory or actual damages, plus
13
     punitive damages along with costs, interest, and reasonable attorneys’ fees.
14
15
16                                      JURY DEMAND
17
           Plaintiff hereby demands a trial by Jury.
18
19
20 DATED: September 7, 2016
21
22
23                                               By: /s/ Trinette G. Kent
                                                 Attorneys for Plaintiff,
24                                               Kiet Huynh
25
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                                                 18
